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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

International Brotherhood of Electrical
                                     )
Workers Local 98 Pension Fund,       )                C/A No. 3:19-3304-MBS
on behalf of itself and all others similarly
                                     )
situated,                            )
                                     )
                    Plaintiff,       )
                                     )
        vs.                          )                     ORDER AND OPINION
                                     )
Deloitte & Touche LLP, Deloitte LLP, )
                                     )
                    Defendants.      )
____________________________________)

       This is a putative class action brought by Plaintiff International Brotherhood of Electrical

Workers Local 98 (the “Union”) Pension Fund (the “Fund”) pursuant to Section 10(b) of the

Securities Exchange Act of 1934 and Rule 10b-5 promulgated under the Act. The Fund alleges it

sustained damages when publicly traded securities of SCANA Corporation (“SCANA”) lost value

after SCANA abandoned a nuclear energy expansion project at the Virgil C. Summer Nuclear Station

in Fairfield County, South Carolina. The Fund alleges that Defendants Deloitte & Touche, LLP and

Deloitte LLP issued unqualified audit reports on SCANA’s financial statements for calendar years

2014, 2015, 2016, and 2017, and in doing so knowingly or recklessly failed to furnish investors with

information regarding the true financial status of the project.

       This matter is before the court on the Fund’s motion for protective order regarding Topics

30-34 of Defendants’ Rule 30(b)(6) deposition notice and motion to quash subpoenas of Brian

Burrows and Todd Neilson, which motion was filed on August 10, 2021. Defendants filed a

response in opposition on August 24, 2021, to which the Fund filed a reply on August 31, 2021. The

court held a videoconference on December 20, 2021.
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       The Fund seats eight trustees, four representing the Union and four representing management

as members of the National Electrical Contractors Association. Brian Burrows is a trustee and co-

chairman of the Fund and president of the Union. Todd Neilson is a trustee of the Fund and former

treasurer of the Union. Burrows executed an Updated Certification Pursuant to Federal Securities

Laws on May 19, 2020 that was attached to a consolidated complaint filed May 19, 2020. ECF No.

44. Burrows averred that he was authorized to make legal decisions on behalf of the Union with

regard to the within action. ECF No. 44-1. At a status conference held June 10, 2021, the court was

informed that Burrows currently is under indictment for conspiracy to embezzle (the “Indictment”)

in the Eastern District of Pennsylvania. See United States v. Dougherty, Cr. No. 2:19-0064-JLS.

It further appear that a complaint was filed by the Secretary of Labor (the “DOL complaint”) alleging

that the Union, through its officers, had a pattern of interfering with the efforts of rank-and-file

members to run for local union office since at least 2014. See Scalia v. Local 98, Int’l Brotherhood

of Elec. Workers, C/A No. 2:21-0096-GAM. Upon inquiry from the court regarding the propriety

of Burrows making decisions on behalf of the putative class, the Fund substituted Neilson as

representative of the Fund as of June 29, 2021. Neilson will serve as designee for the Fund in

accordance with Fed. R. Civ. P. 30(b)(6).

       Topics 30-34 of Defendants’ Rule 30(b)(6) deposition notice seek information from the

Fund’s designee regarding:

       30.     The allegations in the Indictment.

       31.     Your knowledge of the Criminal Action

       32.     The claims asserted and allegations in the Labor Complaint.

       33.     Your knowledge of the Labor Action.


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       34.     Your knowledge of any other action, proceeding, litigation, investigation, or
               inquiry in which any director, officer, manager, business manager, or person
               holding similar managerial positions with Plaintiff who was a defendant,
               target, person of interest, or respondent, or charged with or accused of any
               crime, illegal conduct, or unlawful conduct.

ECF No. 94-1, 10.

       The Fund argues that Topics 30-34 of the 30(b)(6) deposition notice seek discovery into

irrelevant legal matters involving the Union rather than the Fund. The Fund asserts that Defendants’

purpose in obtaining information regarding the Indictment and DOL complaint is to harass or

embarrass witnesses and to create a sideshow that distracts from the evidence in support of class

certification. In opposition, Defendants question whether the Fund actively monitored and

vigorously pursued the case for the benefit of the putative class and whether Burrows acted truthfully

and credibly with respect to any conduct in this case in light of the allegations against him in the

Indictment.

       The court agrees with the Fund that inquiry into the Indictment and DOL complaint is not

relevant, unduly burdensome, and not proportional to the needs of the underlying action. The

Indictment and DOL complaint contain mere allegations. There has been no finding adverse to

Burrows and no implication that Neilson was an actor in any unlawful activity. The Fund’s motion

for protective order is granted as to Topics 30-34 of the Rule 30(b)(6) deposition. Defendants can

obtain information regarding declarations and prior statements made on behalf of the Fund by

Burrows and Neilson during the Rule 30(b)(6) deposition, but they are directed to refrain from

querying the Fund’s designee regarding the Indictment or DOL complaint.

       Defendants also wish to explore the “decades-long, intertwined work history” between

Burrows and Neilson, as well as Tara Chupka, in-house counsel for both the Fund and the Union,


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and possibly others, in order to determine whether Neilson is operating independently of the Union

and in the best interests of the Fund and the putative class. The court finds that Burrows and Neilson

may be deposed as to these matters. The court again cautions against Defendants’ querying either

Burrows or Neilson regarding the Indictment or DOL complaint. The Fund’s motion to quash the

subpoenas of these fact witnesses is denied, as limited herein.

       The Fund’s motion for protective order regarding Topics 30-34 of Defendants’ Rule 30(b)(6)

deposition notice and to quash the subpoenas of Brian Burrows and Todd Neilson (ECF No. 94) is

granted in part and denied in part. The parties shall notify the court regarding the scheduling of

the Fund’s motion for class certification, appointment of class representative, and appointment of

class counsel.

       IT IS SO ORDERED.



                                               /s/ Margaret B. Seymour
                                               Senior United States District Judge

Columbia, South Carolina

January 3, 2022




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